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EXHIBIT 2
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May 30, 2023

BY EMAIL

Maya Eckstein

Hunton Andrews Kurth LLP
951 E. Byrd St.

Richmond, Virginia 23219
meckstenv@huntonak.com

Re: Doe v. Mast, No. 3:22-cv-49-NKM (W.D. Va.) — John David Gibson subpoena

Dear Ms. Eckstein:

As You know, we represent Joshua and Stephanie Mast (the ‘““Masts”) in the above-
referenced matter. We write You to state and preserve our objections to Your Request issued to
John David Gibson on May 15, 2023.

In the subpoena to Mr. Gibson, You request:

All Documents and Communications relating to any efforts of Joshua Mast,
Stephanie Mast, and/or anyone acting on their behalf to remove, obtain custody of,
or adopt a child from Afghanistan, including but not limited to any documents
relating to or communications with: Joshua Mast; Stephanie Mast; Richard Mast;
Hannon Wright; Kimberley Motley; Liberty University; Liberty Counsel; the
Office of the Attorney General of Virginia; the Fluvanna and/or Virginia
Departments of Social Services; the Fluvanna Circuit Court; the Fluvanna General
and Juvenile and Domestic Relations Court; and any United States federal agency,
including but not limited to the Department of Defense, the Department of State, or
the Department of Justice.

We object to Your request for several reasons.

First, Mr. Gibson served as a guardian ad litem in the underlying proceeding previously,
and Virginia law does not allow him to respond to the Request without violating his duties as a
guardian ad litem. A guardian ad litem serves as a fact-finder, investigator, and an advocate for
the best interests of the child. It is inappropriate for any party with an interest in an adoption—
especially John and Jane Doe, who claim to be the Child’s parents and who are actively trying to
obtain custody of her—to receive any information or documents drafted by or communicated by
the guardian ad litem. See Va. Code § 16.1-268 (guardians ad litem represent only the child and
make confidential determinations for how children must be protected). A guardian ad litem is

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charged with vigorously representing the Child’s legitimate interests to protect the Child’s interest
and welfare. Va. R. Sup. Ct. 8:6. As You well know, depending on whether the Court of Appeals
of Virginia or the Supreme Court of Virginia dismisses the Does’ pending case in state court
seeking adoption and custody over the Child (as those appeals courts should), there may come a
time in the state-court proceedings where the state court must decide whether the Masts or John
and Jane Doe will provide a better home to the Child, who currently lives with the Masts. Thus, it
is entirely inappropriate for You to try to circumvent that proceeding and use this one to gather
information that is plainly for the adoption proceeding and which will cause Mr. Gibson to violate
his duties as a guardian ad litem.

Second, and relatedly, this Request calls for privileged information protected by the
attorney-client privilege and the work product doctrine, and it could implicate other applicable
privileges or immunities. You ask for all documents related to the Masts’ adoption of the child,
regardless of whether they are privileged. The Request cannot seek all such information.

Third, the Request is not likely to lead to any relevant, discoverable information in this
litigation that is not available elsewhere. Other parties in this litigation possess all relevant
discovery You could possibly need for Your claims. There are no allegations in Your Complaint
related to Mr. Gibson or any guardian ad litem, and it is unclear what information he could provide
that is not available elsewhere. You can obtain any relevant information through discovery
requests sent to parties rather than embarking on a fishing expedition by sending overbroad
subpoenas to anyone tangentially connected to the case.

Fourth, the subpoena is overly broad and unduly burdensome. Mr. Gibson——a nonparty
who is hardly connected to this litigation—will have to spend time searching his records for:

[A]ny written, printed, typed, recorded, electronic, or graphic matter of every type
and description, however and by whoever prepared, produced, reproduced,
disseminated, or made in any form, regardless of their origin or location, including,
without limitation correspondence, email, memoranda, notes (including notes of
any sort of conversations), diaries, statistics, letters, telegrams, speeches, drafts,
electronic files, spreadsheets, databases, records, minutes, contracts, reports,
studies, checks, statements, receipts, returns, summaries, pamphlets, periodicals,
notices, messages (including instant messages), instructions, work assignments,
books, calendars, interoffice and intra-office communications (including, without
limitation, email communications), agreements, leases, microfilm, circulars,
notebooks, PowerPoint (or other like program) files and/or presentations, bulletins,
printed matter, computer printouts, teletypes, facsimiles, drawings, sketches,
worksheets of any of the foregoing, graphic or oral records or representations of
any kind (including, without limitation, photographs, videotapes, motion pictures),
and electronic, mechanical or electric recordings or representations of any kind
(including, without limitation, tapes, cassettes and magnetic cards, disks and other
recordings), and any other writings or sound recordings.

Request, Definition for “Document.” That Request is unreasonable, and there is not even a baseline
showing for why this information is relevant to the proceeding.

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Finally, as You know, the Masts do not think there even should be any discovery at this
point because the District Court does not have jurisdiction over this case. See Dkt. Nos. 85 & 86.
As such, the Request itself is improper.

Respectfully submitted,

/s/ John S. Moran

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